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TUAN DAO




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        Case No. 2:09-cr-0222-TLN
              Plaintiffs,                        STIPULATION AND ORDER
vs.
TUAN DAO,
              Defendant.
                                       /


       It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, June 19, 2014, be continued to Judgment and Sentencing on
Thursday, October 23, 2014, at 9:30 a.m.
       This continuance is being requested because the Assistant United States
Attorney will be unavailable for the June 19, 2014, hearing as he will be deployed for a
period of time under military orders. After returning from his military deployment, the
Assistant United States Attorney will be in three back-to-back trials until mid October.
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       Further, the Pre-Sentence Report prepared in Mr. Dao’s portion of this case
contained factual allegations which were not contemplated by the parties when the PLEA
AGREEMENT was made at the December 12, 2013, hearing on Mr. Dao’s change of
plea. Because of those discrepancies, portions of the Pre-Sentence Report were objected-
to by this defendant.
       The factual discrepancies substantially affect the “Offense Level” and
potential sentence to be served by Mr. Dao in this case. The time requested will allow
both the United States Attorney and defense counsel time to resolve those disputed facts
so that the matter may proceed for sentencing.
Dated: June 17, 2014
                                           Respectfully submitted,


                                           /s/ Kenny N. Giffard
                                           KENNY N. GIFFARD
                                           Attorney for Defendant
                                           TUAN DAO

                                           /s/ Kenny N. Giffard for
                                           ______________________________________
                                           HEIKO P. COPPOLA
                                           Assistant U.S. Attorney



                                          ORDER
       Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for October 23, 2014, at 9:30 a.m.
Dated: June 19, 2014




                                             Troy L. Nunley
                                             United States District Judge
